                                                         Case 3:22-cv-01020-SB               Document 2-1        Filed 07/13/22        Page 1 of 8




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                                                 3                    1N   THE CIRCUIT COURT 0F THE STATE 0E OREGON
                                                4                                 FOR THE COUNTY OF MULTNOMAH                                   ,




                                                                                                                                                      V
                                                 6
                                                     DONYE MANGUM,                                            CaseNo.       ZZCV       1   0 9-60
                                                     Plaintiff, a minor under the age of 14,
                                                                                                              PETITION FOR APPOINTMENT OF
                                                            VS.                                               GUARDIAN AD LITEM
                                                 8

                                                     SUMMIT HOSPITALITY 085 LLC;
                                                 9
                                                     SUMMIT HOTEL PROPERTIES LLC;
                                                10
                                                     RESIDENCE INN PORTLAND AT
                                                     CASCADE CENTER; KATHLEEN
                                                11   CRAWFORD;

                                                12                             Defendants.

                                                13


                                                14          Petitioner, Deshe Mangum, alleges:

                                                15                                                   1.


                                                16          Petition is the father of Donye Mangum,       a   minor.

                                                17
                                                                                                     2.


                                                18          Donye Mangum resides, pursuant to a joint custody arrangement, with petitioner at 1399

                                                19
                                                     SE l30'h Ave., Portland, Oregon, 97233. Donye Mangum was born on April 5, 2007, and is

                                                     currently 14 years old.
                                                20
                                                                                                     3.
                                                21
                                                            Deshe Mangum is a resident of Multnomah County, Oregon.
                                                22
                                                                                                     4.
                                                23
                                                            Donye Mangum, a minor, is the owner of a claim against Summit Hospitality 085                 LLC,
                                                24
                                                     Summit Hotel Properties       LLC,   Residence Inn Portland at Cascade Center, and Kathleen
                                                25



                                                      PETITION FOR APPOINTMENT OF GUARDIAN AD LITEM                -
                                                                                                                       1        LEVI MERRITHEW HORST PC
                                                                                                                                610 SW ALDER ST., SUITE 415
                                                                                                                                   PORTLAND, OR 97205
                                                                                                                               T: 971.229.1241 |F: 971.544.7092

                                                                                                                                                      Exhibit A
                                                                                                                                                    Page 1 of 8
                                                           Case 3:22-cv-01020-SB            Document 2-1           Filed 07/13/22    Page 2 of 8
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                                                 l   Crawford, arising out of an incident that occurred in Multnomah County, Oregon, on November

                                                 2   2 and 3, 2019.   Litigation is necessary to resolve this claim, and it is necessary that a guardian

                                                 3   ad litem be appointed to process and pursue the claim. Donye Mangum does not already have

                                                     a   legally appointed guardian or conservator.

                                                 5
                                                                                                       5.


                                                 6
                                                              Petitioner is a suitable person to be appointed guardian ad litem for Donye Mangum

                                                     because he is the father and shares in his custody.

                                                              WHEREFORE, petitioner prays       that he be appointed guardian ad litem to represent

                                                     Donye Mangurn in this action.
                                                 9
                                                              DATED this 29th day of March,    2022.
                                                10


                                                11


                                                12                                                    By
                                                                                                            Deshe Mangum
                                                13                                                          1399   SE 130'" Ave.
                                                                                                            Portland, OR 97233
                                                14                                                          P. 971-9079447
                                                                                                            Lilmangug123gwggmail.com
                                                15
                                                                                                            Petitioner
                                                16


                                                17
                                                              By: /s Noah Horst                                By: /s Timothy R. Volpert
                                                18
                                                              Noah Horst, OSB #076089                          Timothy Volpert, OSB #814074
                                                              610 SW Alder St. Ste. 415                        3439 SE Hawthome Blvd. #343
                                                19            Portland, OR 97205                               Portland, OR 97214
                                                              noah@lmhlega1.com                                tim@timvolpertlaw.com
                                                20            P. 971.229.1241                                  P. 503.703.9054
                                                              Of Attorneys for Petitioner                      Of Attorneys for Petitioner
                                                21


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                                                         PETITION FOR APPOINTMENT OF GUARDIAN AD LITEM               -
                                                                                                                         2    LEVI MERRITHEW HORST PC
                                                                                                                              610 SW ALDER ST., SUITE 415
                                                                                                                                 PORTLAND, OR 97205
                                                                                                                             T: 971.229.1241 |F: 971.544.7092

                                                                                                                                                 Exhibit A
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                                                          Case 3:22-cv-01020-SB            Document 2-1        Filed 07/13/22         Page 3 of 8
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                                                 3                     IN THE CIRCUIT COURT         0F THE STSKTE 69Q1ﬁbﬁeﬁls'l
                                                 4                               FOR THE COUNTY OF MULTNOMAH                                     --
                                                                                                                                                      WEE;

                                                 5
                                                      CORDAE MANGUM,                                         Case No.    226V |O%O
                                                 6

                                                      Plaintiff, a minor under the age of 14,
                                                                                                             PETITION FOR APPOINTMENT OF
                                                             VS.                                             GUARDIAN AD LITEM
                                                 8:

                                                      SUMMIT HOSPITALITY 085 LLC;
                                                 9
                                                      SUMMIT HOTEL PROPERTIES LLC;
                                                10
                                                      RESIDENCE INN PORTLAND AT
                                                      CASCADE CENTER; KATHLEEN
                                                ll    CRAWFORD;

                                                12                           Defendants.

                                                13


                                                14           Petitioner, Deshe Mangum, alleges:

                                                15                                                      1.


                                                16           Petition is the father of Cordae Mangum, a minor.

                                                17
                                                                                                        2.


                                                18
                                                             Cordae Mangum resides part time, pursuant to a joint custody arrangement, with

                                                l9    petitioner at 1399 SE 130th Ave., Portland, Oregon, 97233. Cordae Mangum was born on

                                                      October 28, 2014, and is currently 7 years old.
                                                20
                                                                                                        3.
                                                21
                                                             Deshe Mangum is a resident of Multnomah County, Oregon.
                                                22
                                                                                                        4.
                                                23
                                                             Cordae Mangum, a minor, is the owner of a claim against Summit Hospitality 085                  LLC,
                                                24
                                                      Summit Hotel Properties     LLC,   Residence Inn Portland at Cascade Center, and Kathleen
                                                25



                                                       PETITION FOR APPOINTMENT OF GUARDIAN AD LITEM             -
                                                                                                                     1          LEVI MERRITHEW HORST PC
                                                                                                                                610 SW ALDER ST., SUITE 415
                                                                                                                                   PORTLAND, OR 97205
                                                                                                                            T: 971.229.1241 F: 971.544.7092
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                                                                                                                                                        Exhibit A
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                                                 l   Crawford, arising out of an incident that occurred in Multnomah County, Oregon, on November

                                                 2   2 and 3, 2019.    Litigation is necessary to resolve this claim, and it is necessary that a guardian
                                                     ad litem be appointed to process and pursue the claim. Cordae Mangurn does not already have

                                                 4   a   legally appointed guardian or conservator.
                                                                                                       5.
                                                 5


                                                 6
                                                              Petitioner is a suitable person to be appointed guardian ad litem for Cordae Mangum

                                                     because he is the father and shares in his custody.

                                                              WHEREFORE, petitioner prays        that he be appointed guardian ad litem to represent

                                                     Cordae Mangum in this action.
                                                 9

                                                              DATED this 29th day of March, 2022.
                                                10


                                                ll
                                                12                                                    By
                                                                                                            Deshe Mangum
                                                13                                                          1399 SE 130'" Ave.
                                                                                                            Portland, OR 97233
                                                14                                                          P. 971907-9447
                                                                                                            Lilmangum23§w;gmail.com
                                                15
                                                                                                            Petitioner
                                                16


                                                17
                                                              By:   /s Noah Horst                              By: /s Timothy R. Volpert
                                                18
                                                              Noah Horst, OSB #076089                          Timothy Volpert, OSB #814074
                                                              610 SW Alder St. Ste. 415                        3439 SE Hawthorne Blvd. #343
                                                19            Portland, OR 97205                               Portland, OR 97214
                                                              noah@lmhlegal.com                                tim@timvolpertlaw.com
                                                20            P. 971.229.1241                                  P. 503.703.9054
                                                              Of Attorneys for Petitioner                      Of Attorneys for Petitioner
                                                21


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                                                23


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                                                         PETITION FOR APPOINTMENT OF GUARDIAN AD LITEM            -
                                                                                                                      2      LEVI MERRITHEW HORST PC
                                                                                                                             610 SW ALDER ST., SUITE 415
                                                                                                                                PORTLAND, OR 97205
                                                                                                                           T: 971.229.1241 F: 971.544.7092
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                                                                                                                                                   Exhibit A
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                                                         Case 3:22-cv-01020-SB                Document 2-1         Filed 07/13/22      Page 5 of 8



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                                                                                                                             4TH JUDICIAL DIST.
                                                 3                        1N   THE CIRCUIT COURT 0F THE STATE 0E OREGON
                                                 4                                 FOR THE COUNTY OF MULTNOMAH                                          LITE:




                                                                                                                           Z( C V [09-60
                                                 5
                                                     CORDAE MANGUM,                                             CaseNO.

                                                     Plaintiff,   a minor under the age   of 14,
                                                                                                                ORDER APPOINTING GUARDIAN AD
                                                               VS.                                              LITEM

                                                     SUMMIT HOSPITALITY 085 LLC;
                                                 9
                                                     SUMMIT HOTEL PROPERTIES LLC;
                                                10
                                                     RESIDENCE INN PORTLAND AT
                                                     CASCADE CENTER; KATHLEEN
                                                11   CRAWFORD;

                                                12                              Defendants.

                                                13


                                                14             This matter coming on to be heard on the petition of Deshe Mangum, and it appearing

                                                15   that Deshe Mangum is the birth father Of Cordae Mangum and that Cordae Mangum is a minor

                                                16
                                                     of 7 years who resides part time, pursuant to a joint custody agreement, with Deshe Mangum
                                                l7
                                                     at 1399   SE 130'" Avenue, Portland, Oregon, 97233, Multnomah County, Oregon, and that no
                                                18
                                                     other conservator or guardian has heretofore been appointed for Cordae Mangum, and
                                                19

                                                               1T    FURTHER APPEARING to the court that Cordae Mangum, a minor, has a cause of
                                                20

                                                21
                                                     action against Summit Hospitality 085          LLC,    Summit Hotel Properties   LLC, Residence Inn at

                                                22   Cascade Center, and Kathleen Crawford, and desires to prosecute the same, and

                                                23
                                                               IT FURTHER APPEARING                to the court that Deshe Mangum is a suitable person to

                                                24
                                                     act as guardian ad litem for Cordae Mangum and to pursue and prosecute the action on his
                                                25



                                                      ORDER APPOINTING GUARDIAN AD LITEM                -
                                                                                                            1                   LEVI MERRITHEW HORST PC
                                                                                                                                610 SW ALDER ST., SUITE 415
                                                                                                                                    PORTLAND, OR 97205
                                                                                                                              T: 971.229.1241 F: 971.544.7092
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                                                     behalf,

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                                                               IT IS THEREFORE ORDERED       that Deshe Mangum is appointed guardian ad litem

                                                     for the minor Cordae Mangum, and is directed and authorized to prosecute and purse the above-
                                                 4
                                                     entitled action on his behalf.
                                                 5


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                                                 9                                                           3'30'21
                                                10   Submitted By:
                                                     By: /s Noah Horst                              By: /s Timothv R. Volpert
                                                ll   Noah Horst, OSB #076089                        Timothy Volpert, OSB #814074
                                                     610 SW Alder St. Ste. 415                      3439 SE Hawthome Blvd. #343
                                                12
                                                     Portland, OR 97205                             Portland, OR 97214
                                                     noah@lmhlegal.com                              tim@timvolpertlaw.com
                                                13                                                  P. 503.703.9054
                                                     P. 971.229.1241
                                                     Of Attorneys for Petitioner                    Of Attorneys for Petitioner
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                                                      ORDER APPOINTING GUARDIAN AD LITEM        -
                                                                                                    2                      LEVI MERRITHEW HORST PC
                                                                                                                           610 SW ALDER ST., SUITE 415
                                                                                                                               PORTLAND, OR 97205
                                                                                                                         T: 971.229.1241 F: 971.544.7092
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                                                 3                           1N   THE CIRCUIT COURT 0F THE STATE F OREGON
                                                 4                                    FOR THE COUNTY OF MULTNOMAH
                                                 5
                                                     DONYE MANGUM,                                              Case No.   Z\ ('JV     if   O   géo
                                                     Plaintiff, a minor under the age of 14,
                                                 7                                                              ORDER APPOINTING GUARDIAN AD
                                                               VS.                                              LITEM

                                                     SUMMIT HOSPITALITY 085 LLC;
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                                                     RESIDENCE INN PORTLAND AT
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                                                11   CRAWFORD;

                                                l2                                 Defendants.

                                                l3

                                                l4             This matter coming on to be heard on the petition of Deshe Mangum, and it appearing

                                                15   that Deshe Mangum is the birth father          of Donye Mangum and that Donye Mangum is a minor
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                                                     of 14 years who resides part time, pursuant to a joint custody agreement, with Deshe Mangum
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                                                     at 1399   SE    130th   Avenue, Portland, Oregon, 97233, Multnomah County, Oregon, and that no
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                                                               IT FURTHER APPEARING to the court that Donye Mangum, a minor,                         has a cause   of
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                                                     action against Summit Hospitality 085          LLC,    Summit Hotel Properties   LLC, Residence Inn at

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                                                24
                                                     act as guardian ad litem for Donye Mangum and to pursue and prosecute the action on his
                                                25


                                                      ORDER APPOIN TING GUARDIAN AD LITEM               -
                                                                                                            1                  LEVI MERRITHEW HORST PC
                                                                                                                               610 SW ALDER ST., SUITE 415
                                                                                                                                  PORTLAND, OR 97205
                                                                                                                              T: 971.229.1241 F: 971.544.7092
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                                                                                                                                                        Exhibit A
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                                                 l   behalf,

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                                                               IT IS THEREFORE ORDERED       that Deshe Mangum is appointed guardian ad litem
                                                 3
                                                     for the minor Donye Mangum, and is directed and authorized to prosecute and purse the above-

                                                     entitled action on his behalf.
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                                                                                             V
                                                10   Submitted By:
                                                     By: /s Noah Horst                             By: /s Timothv R. Volpert
                                                11   Noah Horst, OSB #076089                       Timothy Volpert, OSB #814074
                                                     610 SW Alder St. Ste. 415                     3439 SE Hawthorne Blvd. #343
                                                12   Portland, OR 97205                            Portland, OR 97214
                                                     noah@1mhlega1.com                             tim@timvolpertlaw.com
                                                13                                                 P. 503.703.9054
                                                     P. 971.229.1241
                                                     Of Attorneys for Petitioner                   Of Attorneys for Petitioner
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                                                      ORDER APPOINTING GUARDIAN AD LITEM       -
                                                                                                   2                     LEVI MERRITHEW HORST PC
                                                                                                                         610 SW ALDER ST., SUITE 415
                                                                                                                            PORTLAND, OR 97205
                                                                                                                        T: 971.229.1241 F: 971.544.7092
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                                                                                                                                             Exhibit A
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